     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2807 Page 1 of 26



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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11     TRAVELERS INDEMNITY COMPANY                         Case No.: 20cv765-GPC(DEB)
       OF CONNECTICUT,
12
                                          Plaintiff,       ORDER
13
       v.                                                  1) GRANTING
14
                                                           MOTIONS TO DISMISS THE
       ANTHONY and BLYTHE NEWLIN, as
15                                                         COUNTERCLAIMS BY THE
       individuals; QUADE & ASSOCIATES,
                                                           NEWLINS AND QUADE WITH
16     PLC, a California professional liability
                                                           LEAVE TO AMEND; AND
       company; AIG PROPERTY CASUALTY
17
       COMPANY, a Pennsylvania corporation,
                                                           2)                     S TO
18     and DOES 1 through 10, inclusive,
                                                           DIMISS THE THIRD PARTY
19                                      Defendants         COMPLAINTS BY THE NEWLINS,
                                                           QUADE AND AIG
20          and Related Counterclaims and Third-
21                             Party Complaints.           [Dkt. Nos. 32, 33, 50, 51, 52.]
22
             Before the Court are Plaintiff and Counterdefendant Travelers Indemnity Company
23
                                     motions to dismiss counterclaims filed by Anthony and
24
      Blythe Newlin                  , and Quade & Associates, PLC                    pursuant to
25
      Federal Rule of Civil Procedure             12(b)(6). (Dkt. Nos. 32, 33.) The Newlins and
26
      Quade jointly filed an opposition. (Dkt. No. 46.) Travelers filed a reply to the joint
27
      opposition. (Dkt. No. 49.) Before the Court are also Third-Party Defendant CCL
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                                                                                       20cv765-GPC(DEB)
     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2808 Page 2 of 26



 1                                      motions to dismiss the third-party complaints pursuant to
 2    Rule 12(b)(6) filed by the Newlins, Quade and AIG Property Casualty Company,
 3        AIG . (Dkt. Nos. 50, 51, 52.) AIG filed an opposition. (Dkt. No. 58.) The Newlins
 4    and Quade filed a motion for joinder to                             . (Dkt. Nos. 61, 62.) CCL filed
 5    a joint reply. (Dkt. No. 70.) Based on the reasoning below, the Court GRANTS
 6                motion to dismiss                                                      with leave to
 7    amend and                                                  third-party complaints.
 8                                          Procedural Background
 9            On April 22, 2020, Plaintiff Travelers filed a complaint alleging counts for
10    declaratory relief against Defendants the Newlins, Quade and AIG, as well as a breach of
11    contract claim against the Newlins based on facts arising from an underlying state court
12    complaint in San Diego County Superior Court, Case No. 37-2017-00006963-CU-OR-
13    NC entitled Hamadeh et al. v. Newlins, et al.,                                    ). (Dkt. No. 1,
14    Compl.)
15    indemnity obligations to the Newlins, Quade and AIG in the Hamadeh Litigation. (Id.)
16    Travelers then filed a first amended complaint on May 1, 2020. (Dkt. No. 5, FAC.) On
17    June 11, 2020, the Newlins and Quade filed a motion to dismiss pursuant to Rule
18    12(b)(1) and Rule 12(b)(6), (Dkt. No. 15), and AIG filed a motion to dismiss pursuant to
19    Federal Rule of Civil Procedure 12(b)(1). (Dkt. No. 13.) On September 14, 2020, the
20                                                                                                     Rule
21    12(b)(6) and granted the Defendants motion to dismiss pursuant to Rule 12(b)(1) with
22    leave to amend.1 (Dkt. No. 55.) On September 24, 2020, Travelers filed a second
23                                                            On October 13, 2020, the Newlins, Quade
24
25    1
        In its order, the Court directed supplemental briefing on whether a stay should be issued in the case due
26    to the pending cross-complaint filed by the Newlins against CCL arising from the same underlying facts
      as this case. (Dkt. No. 55 at 27.) On October 9, 2020, AIG and CCL filed their supplemental briefs.
27
      64.) On October 16, 2020, Travelers filed a response. (Dkt. No. 69.) The Court will not consider these
28    arguments until after the pleadings have been settled.

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                                                                                               20cv765-GPC(DEB)
     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2809 Page 3 of 26



 1    and AIG filed motions to dismiss the SAC which is not yet fully briefed. (Dkt. Nos. 66,
 2    67.)
 3           On June 11, 2020, the Newlins, AIG and Quade each separately filed a
 4    counterclaim against Travelers and each separately filed a third-party complaint against
 5    CCL                 c                      (Dkt. Nos. 14, 16, 17.) While Travelers filed
 6                                      , (Dkt. No. 31), it filed the instant fully briefed motions
 7                                         counterclaims. (Dkt. Nos. 32, 33, 46, 49.) CCL also
 8    filed the instant motions to dismiss the third-party complaints filed by the Newlins, AIG
 9    and Quade which are fully briefed. (Dkt. Nos. 50, 51, 52, 58, 59, 60, 70.)
10                                       Factual Background
11           According to the           counterclaim/TPC, the Newlins were the owners of real
12    property located at 16350 Via Del Alba, Rancho Santa Fe, California 92067 from late
13    2012 until February 2015. (Dkt. No. 16, Newlins Counterclaim/TPC ¶¶ 1, 7.) During
14    that time, the Newlins remodeled, repaired and/or modified two residences on the
15    property as well as made repairs and improvements to the landscape, hardscape and
16    irrigation system. (Id. ¶ 8.) In addition, CCL was contracted by the Santa Fe Irrigation
17    District to perform certain work on the water infrastructure on the property and to
18    move/install a new fire hydrant and to perform certain related site work. (Id. ¶ 8.)
19           Around October 18, 2013, CCL submitted a bid to the Santa Fe Irrigation District
20                                         -
21    property while the Newlins were the owners. (Id. ¶¶ 16-18.) CCL was awarded the
22    contract and on December 2, 2013, CCL signed the Santa Fe Irrigation District Contract.
23    (Id. ¶ 18.) The Santa Fe Irrigation District Contract required CCL to procure certain
24    insurance. (Id. ¶¶ 19-21.) As such, CCL purchased Commercial General Liability
25    policies of insurance from Travelers for dates of coverage from April 1, 2014        April 1,
26                              Id. ¶ 29.) Per the Santa Fe Irrigation District Contract, CCL
27    named the Newlins as additional insureds on the CCL Policies. (Id. ¶¶ 21, 31.) The
28    Contract requ               defend . . . indemnify and hold District, its officials, officers,

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                                                                                     20cv765-GPC(DEB)
     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2810 Page 4 of 26



 1    agents, employees, owners of property upon which Contractor will perform Work . . .free
 2    and harmless from any claims . . . arising out of or incident to any acts, omissions or
 3    willful misco                            Id. ¶ 22.) Per the Santa Fe Irrigation District
 4    project, t
 5                                                              with the Santa Fe Irrigation
 6    District around October 8, 2013 concerning certain work on the water infrastructure
 7    systems that was located on the property. (Id. ¶ 24.) The Property Owner Contract also
 8    stated that CCL is to defend and hold harmless any claims arising out of the acts,
 9    omission or willful misconduct of the contractor. (Id. ¶ 26.) Around April 2014, CCL
10    submitted a change order, approved by the Santa Fe Irrigation District, to relocate the fire
11    hydrant to the end of the cul-de-sac on Via Del Alba. (Id. ¶ 28.)
12           Around February 18, 2015, the Newlins sold the property to Bassim Hamadeh,
13    Seidy Hamadeh and the Ravello Trust (collectively                p             Id. ¶ 9.) On
14    February 24, 2017, the Hamadeh plaintiffs filed a complaint in San Diego Superior Court
15    against the Newlins and others for negligent misrepresentation, negligence and breach of
16    contract. (Id. ¶ 10.) On October 12, 2017, the Hamadeh plaintiffs filed a first amended
17    complaint adding claims for fraud by concealment, intentional misrepresentation,
18    negligence per se under California Business & Professions Code section 7028 et seq.,
19    fraudulent inducement and negligence per se under California Civil Code section 1102 et
20    seq. (Id.) The Hamadeh Litigation arose from the
21    misrepresentation and/or concealment relied upon by the Hamadeh plaintiffs when they
22    purchased the property concerning alleged defects with the modification and remodel
23    work performed by the Newlins and/or on behalf of the Newlins. (Id.)
24           AIG issued a homeowner policy to the Newlins for the policy period, November
25    29, 2014 to November 29, 2015, which provided liability coverage, including defense, for
26    qualifying damages for property damage caused by an occurrence and subject to
27    limitations and exclusions. (Id. ¶ 7.) The Newlins tendered their defense in the
28    Hamadeh Litigation to AIG, its insurer, and it provided a full defense to the Newlins

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                                                                                   20cv765-GPC(DEB)
     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2811 Page 5 of 26



 1    under a reservation of rights. (Id. ¶ 11.) After the tender, AIG assigned panel counsel,
 2    Patrick J. Mendes, Esq. of Tyson & Mendes, LLP to defend the Newlins. (Id. ¶ 12.) In
 3                                                                                           of
 4    Quade & Associates, a PLC as independent counsel under California Civil Code section
 5    2860. (Id.)
 6          Around May 23, 2017, after Quade transmitted to CCL a Notice of Tender of
 7    Defense and Demand for Indemnification and Notice of Claim demanding that CCL
 8    defend and indemnify the Newlins for claims made by the Hamadeh plaintiffs related to
 9                         ,                                                       Id. ¶ 32.) On
10                                                                       avelers acknowledging
11    receipt of the tender to CCL. (Id. ¶ 33.) On July 14, 2017, Ms. Donna Moore of the firm
12    Diederich & Associates emailed Quade indicating she had been retained by Travelers to
13    represent CCL. (Id. ¶ 35.)
14          On August 3, 2017, Quade te
15                                                                               Id. ¶ 36.) On
16    October 6, 2017, Travelers sent a letter to Quade representing that Travelers would
17    defend the Newlins in the Hamadeh Litigation under a full reservation of rights and
18    defenses under the CCL policies. (Id. ¶ 37.) The rights reserved included the issue of
19     (1) whether the damages resulted from an occurrence, a term defined in the CCL
20    policies to mean, in pertinent part, an accident , and (2) the extent to which coverage is
21    afforded under the Blanket Additional Insured Endorsements in the CCL policies which
22    limit coverage to injury or damage . . . caused by acts or omissions of CCL. (Id.)
23    Further, the October 6, 2017 letter represented that coverage under the CCL policies to
24    the Newlins as additional insureds                  Id. ¶ 38.) Travelers also identified
25    Bohm Wildish LLP                        as its chosen defense counsel and indicated that
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                                                                                   20cv765-GPC(DEB)
     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2812 Page 6 of 26



 1    defense fees and costs incurred by Mr. Bohm. Mr. Bohm will be contacting you shortly
 2    to                                        Id. ¶ 39.)
 3          On October 19, 2017, Annie Won of Bohm Wildish sent Quade the first of three
 4    Notice of Association of Counsel forms, each of which contained incorrect information.
 5    (Id. ¶ 40.) On November 1, 2017, Won wrote that this was her third attempt to associate
 6    into the matter and Quade had not responded to her numerous emails and calls and asked
 7    that she be contacted as soon as possible to discuss the matter. (Id.                 -
 8    coverage counsel, Mr. Hilding, responded advising that having a third firm involved in
 9
10
11    association of couns                                           Id. ¶ 41.) Counsel further
12    advised that AIG would be providing the defense through panel counsel and independent
13    counsel and asked Ms. Won to inquire with Travelers about sharing in the cost of the
14    defense. (Id.) On November 29, 2017, Ms. Won responded that she had not received an
15    update from Travelers about her assignment to the case and reasserted that her office
16    remains assigned counsel for the Newlins and requested that the files be sent to her so
17    that she could associate into the case. (Id. ¶ 42.) The next day, Mr. Hilding emailed Ms.
18    Won expressing his concern that Travelers had not yet responded to counsel it selected.
19    (Id. ¶ 43.) In response, Ms. Won referred Mr. Hilding to Sandy Ngo of Travelers and Mr.
20    Hilding contacted her on November 3, 2017 by email and voicemail but Ms. Ngo never
21    responded. (Id. ¶ 44.)
22          On December 7, 2017, the Newlins filed a cross-complaint against CCL, and
23    others, in the state court action for breach of contract, negligence, negligent
24    misrepresentation, indemnity, contribution, apportionment and declaratory relief. (Id. ¶¶
25    13, 45.) On January 17, 2019, Quade sent a letter to Ms. Ngo informing her of the
26    January 24, 2019 mediation but no representatives of Travelers attended the mediation.
27    (Id. ¶ 49.) In January 2019, AIG funded a $900,000 settlement between the Newlins, the
28    Hamadeh plaintiffs and all the Hamadeh cross-defendants except CCL. (Id. ¶ 15.) The

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     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2813 Page 7 of 26



 1    state court dismissed the Hamadeh complaint and the cross-complaints as to all cross-
 2    defendants except CCL. (Id.) During the Hamadeh litigation, AIG paid over $1.5
 3    million in attorney fees on behalf of the Newlins to Tyson Mendes and Quade. (Id. ¶ 14.)
 4    CCL and Travelers did not contribute to the defense or indemnification of the Newlins in
 5    the Hamadeh action. (Id. ¶ 50.)
 6                         third-party complaint against CCL alleges a claim for breach of
 7    contract claim, (id. ¶¶ 57-62) and the counterclaim against Travelers asserts claims for
 8    breach of insurance contract, (id. ¶¶ 63-70), and breach of implied covenant of good faith
 9    and fair dealing, (id. ¶¶ 71-75).
10          The third-party complaint filed by Quade against CCL and counterclaim against
11    Travelers allege almost identical facts as the Newlins counterclaim/TPC. (Dkt. No. 17,
12                                    Quade additionally alleges that while AIG agreed to fund
13                            of Quade as independent counsel, California Civil Code section
14    2860 limits the rate of attorneys fees to $250/hour and the rate of paralegals to $125/hour.
15    (Id. ¶ 15.) Therefore, according to the legal services agreement between Quade and the
16    Newlins, the Newlins are legally obligated to pay Quade the difference of its regular rates
17    of $695/hour for partners, $450/hour for associates and $190/hour for paralegals. (Id.)
18    On June 10, 2020, the Newlins assigned all their rights under the legal services agreement
19    with Quade to recover unpaid excess fees from CCL and/or Travelers while still retaining
20    their own personal rights to pursue claims for emotional distress, punitive damages and
21    attorney s fees incurred in recovering contractual benefits unreasonably withheld by
22    Travelers. (Id. ¶ 17.) Quade alleges that CCL and Travelers are obligated to pay it the
23    excess fees of about $1.7 million, plus interest. (Id. ¶ 18.) Quade asserts breach of
24    contract against CCL, (id. ¶¶ 65-72), breach of contract-duty to defend-independent
25    counsel against Travelers, (id. ¶¶ 73-76), and indemnity, equitable subrogation,
26    waiver/estoppel against Travelers, (id. ¶¶ 77-81).
27          In AIG     hird-party complaint against CCL and counterclaim against Travelers, it
28    additionally claims that because CCL owed a primary obligation to defend and indemnify

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                                                                                  20cv765-GPC(DEB)
     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2814 Page 8 of 26



 1    the Newlins in the Hamadeh Litigation under the Santa Fe Irrigation District Contract and
 2    the Property Owner Contract and refused to do so,
 3    counterclaim/TPC ¶¶ 57, 61), AIG instead paid the defense and indemnification of the
 4    Newlins. (Id.) Because AIG paid for a loss which would otherwise borne by the
 5
 6    (Id. ¶ 62.) Therefore, AIG alleges equitable subrogation      express contractual indemnity
 7    against CCL, (id. ¶¶ 56-64), equitable subrogation -contractual promise to procure
 8    primary coverage against CCL, (id. ¶¶ 65-69), equitable subrogation        express
 9    contractual indemnity against Travelers, (id. ¶¶ 70-75), equitable indemnity against
10    Travelers, (id. ¶¶ 76-78), equitable contribution   proportionate liability against CCL
11    Contracting, (id. ¶¶ 79-81), and equitable contribution     proportionate liability against
12    Travelers, (id. ¶¶ 82-84).
13                                            Discussion
14    A.    Legal Standard as to Federal Rule of Civil Procedure 12(b)(6)
15
16                                                                Civ. P. 12(b)(6). Dismissal
17    under Rule 12(b)(6) is appropriate where the complaint lacks a cognizable legal theory or
18    sufficient facts to support a cognizable legal theory. See Balistreri v. Pacifica Police
19            901 F.2d 696, 699 (9th Cir. 1990). Under Federal Rule of Civil Procedure
20
21
22    the . . . claim is and the groun                          Bell Atlantic Corp. v. Twombly,
23    550 U.S. 544, 555 (2007).
24          A complaint may survive a motion to dismiss only if, taking all well-pleaded
25
26    pl                      Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly,
27
28    content that allows the court to draw the reasonable inference that the defendant is liable

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                                                                                     20cv765-GPC(DEB)
     Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2815 Page 9 of 26



 1                                      Id.
 2                                                                          Id.
 3    complaint to survive a motion to dismiss, the non-conclusory factual content, and
 4    reasonable inferences from that content, must be plausibly suggestive of a claim entitling
 5                               Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009)
 6    (quotations omitted). In reviewing a Rule 12(b)(6) motion, the Court accepts as true all
 7    facts alleged in the complaint, and draws all reasonable inferences in favor of the
 8    plaintiff. al-Kidd v. Ashcroft, 580 F.3d 949, 956 (9th Cir. 2009).
 9
10    the court determines that the allegation of other facts consistent with the challenged
11                                                           DeSoto v. Yellow Freight Sys., Inc.,
12    957 F.2d 655, 658 (9th Cir. 1992) (quoting Schreiber Distrib. Co. v. Serv-Well Furniture
13    Co., 806 F.2d 1393, 1401 (9th Cir. 1986)). In other words, where leave to amend would
14    be futile, the Court may deny leave to amend. See DeSoto, 957 F.2d at 658; Schreiber,
15    806 F.2d at 1401.
16    B.                    Motions to Dismiss                               Counterclaims
17             1.                              Breach of Contract Claims
18
19    because they have failed to allege a breach. (Dkt. No. 32-1 at 11-23; Dkt. No. 33-1 at 12-
20    20.2) In addition, Travelers
21    failing to allege damages resulting from the breach. (Dkt. No. 32-1 at 11-12.) The
22    Newlins and Quade filed a joint response arguing that they have sufficiently alleged
23    breach of the contracts for failing to defend and indemnify the Newlins and as a result,
24    they suffered damages. (Dkt. No. 46 at 11-25.)
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28    2
          Page numbers are based on the CM/ECF pagination.

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                                                                                     20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2816 Page 10 of 26



 1          Under California law, the elements required for a cause of action for breach of
 2   c             (1) the existence of the contract, (2) plaintiff's performance or excuse for
 3
 4   Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821 (2011).
 5
 6   Newlins as additional insured under the CCL policies. In fact, the counterclaim avers
 7   that Travelers agreed to defend the Newlins in the Hamadeh litigation and appointed
 8   defense counsel.                                                 ¶¶ 36-39; Dkt. No. 17,
 9                                     45-48.) However, the parties diverge on whether there
10   was a breach of the CCL contracts when                      ed to appoint independent Cumis
11   counsel due to a conflict of interest.
12
13                               Gray v. Zurich Ins. Co., 65 Cal. 2d 263, 275 (1966) (emphasis
14   omitted).
15   an incentive to reserve a broad spectrum of coverage defenses in order to preserve its
16   right to limit its obligation to indemnify to covered claims. By giving notice to its
17   insured, an insurer may agree to defend a suit subject to a reservation of rights. In this
18   manner, an insurer meets its obligation to furnish a defense without waiving its right to
19                                                                     Swanson v. State Farm Gen.
20   Ins. Co., 219 Cal. App. 4th 1153, 1162 (2013) (internal citations and quotations omitted).
21
22   for liability under the policy, has the right to control defense and settlement of the third
23   party action against its insured, and is . . .                                        Id.
24   (citation and internal quotations omitted).
25          However, California Civil Code section 2860
26   conflict of interest exists between the insurer and the insured. Section 2860 codified the
27   opinion in San Diego Federal Credit Union v. Cumis Ins. Society, Inc., 162 Cal. App. 3d
28   358, 364 (1985) which held           if a conflict of interest exists between an insurer and its

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                                                                                      20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2817 Page 11 of 26



 1   insured, based on possible noncoverage under the insurance policy, the insured is entitled
 2   to retain its own independent counsel at the insurer's expense. Fed. Ins. Co. v. MBL,
 3   Inc., 219 Cal. App. 4th 29, 41 (2013) (citing Cumis Ins. Society, Inc., 162 Cal. App. 3d at
 4   364). Section 2860
 5   insured as set forth in Cumis   James 3 Corp. v. Truck Ins. Exch., 91 Cal. App. 4th 1093,
 6   1100 (2001). Section 2860 provides that,
 7         [i]f the provisions of a policy of insurance impose a duty to defend upon an
           insurer and a conflict of interest arises which creates a duty on the part of the
 8
           insurer to provide independent counsel to the insured, the insurer shall
 9         provide independent counsel to represent the insured.
10
     Cal. Civ. Code § 2860(a). In addition,
11
           a conflict of interest does not exist as to allegations or facts in the litigation
12         for which the insurer denies coverage; however, when an insurer reserves its
           rights on a given issue and the outcome of that coverage issue can be
13
           controlled by counsel first retained by the insurer for the defense of the
14         claim, a conflict of interest may exist. No conflict of interest shall be
           deemed to exist as to allegations of punitive damages or be deemed to exist
15
           solely because an insured is sued for an amount in excess of the insurance
16         policy limits.
17
     Cal. Civ. Code § 2860(b). The right to independent counsel                                 does
18
     not exist in every case involving a conflict of interest nor does every reservation of rights
19
     entitle an insured to Cumis counsel. James 3 Corp., 91 Cal. App. 4th at 1101.
20
           The duty to provide Cumis
21
     insurance company.
22
           The attorney, who typically has a long-standing relationship with the insurer
23         and none with the insured (including little prospect of future work), may be
           forced to make numerous and varied decisions that could help one of his
24
           clients concerning insurance coverage and harm the other. [T]here has been
25
26
           position, whether or not it coincides with what is best for the insured.
27         Consequently, in order to eliminate the ethical dilemmas and temptations
28

                                                   11
                                                                                    20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2818 Page 12 of 26



 1         that arise along with conflict in joint representations, the insurer is required
           to provide its insured with independent counsel of the insured's choosing[.]
 2
 3   Long v. Century Indem. Co., 163 Cal. App. 4th 1460, 1469-70 (2008) (citations and
 4   quotations omitted).
 5         An insured
 6                                                                         Fed. Ins. Co., 219 Cal.
 7   App. 4th at 42 (quoting Blanchard v. State Farm Fire & Casualty Co., 2 Cal. App. 4th
 8   345, 350 (1991)).
 9   have nothing to do with the issues being litigated in the underlying action, there is no
10                                                          Id. (quoting Foremost Ins. Co. v.
11   Wilks, 206 Cal. App. 3d 251, 261 (1988). There is no such entitlement, for example,
12   where the coverage issue is independent of, or extrinsic to, the issues in the underlying
13                                                                                          Id.
14   (quoting Dynamic Concepts, Inc. v. Truck Ins. Exch., 61 Cal. App. 4th 999, 1006 (1998));
15   Gafcon, Inc. v. Ponsor & Assocs., 98 Cal. App. 4th 1388, 1421-22 (2002)
16   when the basis for the reservation of rights is such as to cause assertion of factual or legal
17   theories which undermine or are contrary to the positions to be asserted in the liability
18   case that a conflict of interest sufficient to require independent counsel, to be chosen by
19
20         It is established that a conflict does not arise when an insurer provides a general
21   reservation of rights. Gafcon, Inc., 98 Cal. App. 4th at 1422; Fed. Ins. Co., 219 Cal. App.
22   4th 29 at 47 (a general reservation of rights-where the insurer does not reserve its right to
23   deny coverage under a particular policy exclusion-does not give rise to a conflict of
24   interest). Some examples of a conflict of interest requiring the insurer to provide
25   independent counsel include: (1) where the insurer reserves its rights on a given issue
26   and the outcome of that coverage issue can be controlled by the insurer's retained
27   counsel;
28   the insurer has filed suit against the insured, whether or not the suit is related to the

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                                                                                     20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2819 Page 13 of 26



 1
 2   excess of policy limits without the insured's consent and leav[es] the insured exposed to
 3   claims by third
 4   the interests of both the insurer and the insured finds that his or her representation of the
 5                                                                                           James
 6   3 Corp, 91 Cal. App. 4th at 1101 (emphasis in original) (internal quotation marks and
 7   citations omitted).
 8                                   Dynamic Concepts, Inc., 61 Cal. App. 4th at 1007.
 9
10   additional insured under the CCL policies and appointed counsel to defend them in the
11   Hamadeh Litigation and as the insurer, it had the right to control their defense. (Dkt. No.
12   32-1 at 14-16; Dkt. No. 33-1 at 12-15.) Travelers further asserts that the Newlins and
13   Quade have failed to allege facts to show the Newlins were entitled to independent
14   counsel. (Dkt. No. 32-1 at 16-22; Dkt. No. 33-1 at 15-20.) In opposition, the Newlins
15   and Quade argue that they alleged that Travelers breached its defense obligations by
16                                      right to independent counsel. First, they argue that
17   Travelers failed to recognize their right to independent counsel based on the actual
18
19   issues. (Dkt. No. 46 at 11-
20                                             ).) Second, they have alleged there was an actual
21   conflict of interest because Travelers attempted to be on both sides of the dispute between
22   the Newlins and CCL. (Dkt. No. 46 at 13-
23   counterclaim/TPC ¶¶ 35-48; Dkt. No. 17                                     ¶ 44-55).) Third,
24
25   provision of ineffective defense counsel. (Dkt. No. 46 at 20-22 (citing Dkt. No. 16,
26                                       -46; Dkt                                              -
27   55).)
28

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                                                                                    20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2820 Page 14 of 26



 1          On the first argument, there is a conflict of interest requiring independent counsel
 2                                                               and the outcome of that coverage
 3   issue can be controlled by the in                                James 4 Corp., 91 Cal. App.
 4   4th at 1101. Here, the Newlins and Quade allege that Travelers reservation of rights
 5   included certain coverage issues. (See Dkt. No. 16,                  counterclaim/TPC ¶ 37;
 6                                    claim/TPC ¶ 46.) While Travelers argue that there was no
 7   express reservation of rights, on a motion to dismiss, the Court must accept as true the
 8   allegations in the complaint and draw all reasonable inference in favor of the Plaintiff.
 9   See al-Kidd, 580 F.3d at 956. Here, the counterclaims sufficiently allege that Travelers
10   reserved its right on certain coverage issues. However, the counterclaims fail to claim
11
12              James 3 Corp, 91 Cal. App. 4th at 1101, or that the reservation of rights are
13   related to the issues in the underlying case, Fed. Ins. Co., 219 Cal. App. 4th at 42.
14   Instead, the counterclaims allege a conflict of interest based on concerns of
15   amongst all three law firms, giving the wrong impression to the jury, and, based on her
16
17
18   The counterclaims fail to allege that the reservation of rights asserted concerning
19   coverage were related to the underlying litigation.3 Therefore, Newlins and                    first
20   argument concerning the right to independent counsel fails.
21          Second, the Newlins and Quade claim that there was a conflict of interest because
22   Travelers attempted to be on both sides of the dispute between the Newlins and CCL.
23   They maintain that Travelers would have been on both sides of the litigation between the
24   Newlins and CCL because both are insureds under the same insurance policies and have
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26
27   3

     was not yet named as a cross-defendant in the Hamadeh Litigation. It was not until December 2017,
28   when CCL was named as a cross-defendant when the Newlins filed their cross-complaint.

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                                                                                         20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2821 Page 15 of 26



 1   adverse interests. (Dkt. No. 46 at 13-19.) Travelers respond that it was not on both sides
 2   of the Hamadeh Litigation and that it had no duty to pay for the prosecution of the cross-
 3   complaint against CCL. (Dkt. No. 49 at 5-6.)
 4         The Newlins and Quade rely on the ruling in                w v. Borad, 27 Cal. 2d 794,
 5   798 (1946), the California Supreme Court held the insurer cannot control both sides of
 6   the litigation even if different counsel are assigned. Id. In that case the insurer
 7   represented both drivers in a car accident, and the                         nder the terms
 8   of the policy contracts, the insurers have undertaken to pay any judgment rendered in
 9   favor of either the plaintiff or the cross-complainant; they, therefore, have a pecuniary
10   interest in effecting a balance between the litigants and so conducting the litigation that
11   neither party recovers against the other. Id. at 798.
12         Travelers relies on the MBL, Inc. case where the federal government brought a
13   CERCLA action against the property owners and lessees of a dry-cleaning facility
14   suspected of causing soil and groundwater contamination to recover monitoring and
15   remediation costs. MBL, Inc., 219 Cal. App. 4th at 33. The owners and lessees
16   subsequently filed third-party actions against, among others, MBL, Inc., the supplier of
17   dry-cleaning products, seeking indemnity, contribution, and declaratory relief. Id. MBL,
18   Inc. then filed a cross-claim which named several additional cross-defendants. Id. at 35.
19   The court determined that MBL, Inc. was not entitled to independent counsel even
20   though the insurers simultaneously represented MBL, Inc. and some other third-party
21   defendants and cross-defendants because the parties were no
22               Id. at 46-47. Travelers also cite to Centex case where a group of homeowners
23   brought a construction defect action against a developer for work performed by various
24   subcontractors. Centex, 237 Cal. App. 4th at 25-26. The developer then sued the
25   subcontractors for indemnity, contribution, and repayment. Id. at 26. The court found
26   that the insurer defending the developer and the subcontractors did not create an ethical
27   conflict of interest requiring independent counsel. Id. at 31.
28

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                                                                                   20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2822 Page 16 of 26



 1         While both sides present persuasive legal arguments, the allegations in the
 2   counterclaims do not support a conflict based on an insurer being on both sides of the
 3   litigation. Even though the Newlins and Quade cite to their counterclaims, (Dkt. No. 16,
 4   Newlins counterclaim/TPC ¶¶ 35-                                                     ¶¶ 44-57),
 5   to support the conflict alleged that Travelers sought to be on both sides of the litigation,
 6   (Dkt. No. 46 at 14), the allegations do not support such a conflict but describe the
 7   communications                            -coverage counsel and Travelers along with its
 8   appointed counsel where the concern at the time involved the inconvenience of having a
 9   third firm involved in the defense.                                                     -48;
10                                                       -57.)             -coverage counsel
11
12   counterclaim/TPC ¶ 41.) Therefore, the Court concludes that
13   counterclaims fail to allege that an actual conflict of interest existed sufficient to warrant
14   the appointment of Cumis counsel where the insurer represents both the plaintiff and
15   defendant. See James 3 Corp., 91 Cal. App. 4th at 1101.
16         Third, the Newlins and Quade argue that they have alleged a conflict of interest
17   based on             selection of ineffective defense counsel.
18   proposed counsel failed on three instances in preparing a notice of association of counsel.
19                                                        -
20   counterclaim/TPC ¶¶ 49-55.) They also allege that the proposed defense counsel did not
21   understand their ethical duties as insurer-appointed defense counsel. (Dkt. No. 16,
22                                       -                                                     -57.)
23   Travelers opposes.
24         The Newlins and Quade fail to provide any legal authority that typographical
25   errors in a notice of association of counsel
26   that there was a conflict of interest demonstrate incompetent counsel for purposes of a
27                                                                                duty to defend
28   includes hiring competent counsel       J.B. Aguerre, Inc. v. American Guarantee & Liab.

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                                                                                    20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2823 Page 17 of 26



 1   Ins. Co., 59 Cal. App. 4th 6, 14 (1997); see also Gray Cary Ware & Freidenrich v.
 2   Vigilant Ins. Co., 114 Cal. App. 4th                        this duty [to defend] includes
 3   providing competent counsel and paying all reasonable and necessary costs.               J.B.
 4   Aguerre                                 keep[ing] abreast of the progress and status of the
 5   litigation in order that it may act intelligently and in good faith on settlemen               Id.
 6   Here the allegation that there was an actual conflict of interest to warrant the appointment
 7   of independent counsel                                                                   and
 8   failure to acknowledge a conflict are not persuasive or supported.
 9
10   breach of contract claim for failing to sufficiently allege a breach of the contracts.
11         2.      Damages
12         Travelers also argues that the Newlins have not alleged they have been damaged
13                                                -1 at 11-12.) In fact, the counterclaim alleges
14   they have not suffered any damages by the purported breach because AIG fully defended
15   them in the Hamadeh Litigation by paying over $1.5 million in attorneys fees and
16   $900,000 to settle the Hamadeh Litigation. The Newlins respond that Travelers refused
17
18   defense as provided by that counsel. (Dkt. No. 46 at 23-24.) As a result of the breach
19   and failure to recognize the right to Cumis counsel, Travelers has forfeited its ability to
20   take advantage of the section 2860(c) rate cap and accordingly, the Newlins incurred
21   economic loss in the amount of the difference between the section 2860(c) rates paid by
22   AIG and the value of reasonable attorne
23   Quade.
24            Under California law, a breach of contract claim requires a showing of
25   appreciable and actual damage. Aguilera v. Pirelli Armstrong Tire Corp., 223 F.3d
26   1010, 1015 (9th Cir. 2000) (citing Patent Scaffolding Co. v. William Simpson Const. Co.,
27   256 Cal. App. 2d 506, 511
28                 ). A claim for nominal damages, speculative harm, or fear of future harm,

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                                                                                    20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2824 Page 18 of 26



 1   without a showing of actual damages, does not suffice. Aguilera, 223 F.3d at 1015; Ruiz
 2   v. Gap, Inc., 622 F. Supp. 2d 908, 917 (N.D. Cal. 2009). It is also the rule that an insured
 3   is entitled to only a single full defense, Safeco Ins. Co. of America v. Parks, 170 Cal.
 4   App. 4th 992, 1004 (2009), and an insurer that has borne the responsibility and cost of
 5   that defense is itself entitled to a sharing or contribution by the other responsible insurers,
 6   see Continental Cas. Co. v. Zurich Ins. Co., 57 Cal. 2d 27, 37 (1961); Fireman's Fund Ins
 7   Co. v. Maryland Casualty Co., 65 Cal. App. 4th 1279, 1289, 1295 (1998). The measure
 8   of damages for any breach of the duty
 9                                                                     Emerald Bay Community
10   Ass n v. Golden Eagle Ins. Corp., 130 Cal. App. 4th 1078, 1088-89 (2005).
11         Here, the Newlins allege they incurred economic loss in the amount of the
12   difference between the section 2860(c) rates paid by AIG and the value of reasonable
13
14   counterclaim/TPC ¶                                                                  on June
15   10, 2020, the Newlins assigned to Quade all their rights under the legal services
16   agreement between Newlins and Quade to recover unpaid excess fees from CCL and/or
17   Travelers. (Dkt. No. 1                                  ¶ 17.) Therefore, the Newlins
18   cannot
19   Quade. Nonetheless, the Newlins further argue that they are still entitled to seek damages
20   for emotional distre
21   indemnity obligations. (Dkt. No. 46 at 25.)
22         However, the traditional rule is that emotional distress damages are not recoverable
23   on a breach of contract claim. See Wynn v. Monterey Club, 111 Cal. App. 3d 789, 799
24   (1980). Moreover, the cases the Newlins cite to support emotional distress damages
25   concern breach of the implied covenant of good faith and fair dealing, not a breach of
26   contract claim. (Dkt. No. 46 at 25.) Accordingly, because the Newlin have not alleged
27   damages to support an alleged breach by Travelers, the Court
28                                                   for breach of contract.

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                                                                                    20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2825 Page 19 of 26



 1         While Travelers did not move to dismiss                        contract claim based
 2   on damages, Quade, in the joint opposition, argues that it suffered damages, by means of
 3   assignment from the Newlins, in the amount of the difference between the section
 4   2860(c) rates paid by AIG and the reasonable rates the Newlins became legally
 5   responsible for to Quade. (Dkt. No. 46 at 25.) Travelers, in reply, argues that while an
 6   insurer may not take advantage of the rate cap in section 2860 if it did not meet its duty to
 7                                                       in this case, because Travelers
 8                                 , it did not forfeit the benefits of section 2860. Travelers
 9   raises an issue of fact that is not amenable to determination on a motion to dismiss.
10   Therefore, the Court concludes that Quade has sufficiently alleged damages.
11
12
13         3.               Breach of the Covenant of Good Faith and Fair Dealing
14         Travelers also moves to dismiss the counterclaim for breach of the covenant of
15   good faith and fair dealing filed by the Newlins. (Dkt. No. 32-1 at 23-24.) The Newlins
16   oppose. (Dkt. No. 46 at 28-29.)
17                                                                                every
18   insurance contract. Anguiano v. Allstate Ins. Co., 209 F.3d 1167, 1169 (9th Cir. 2000)
19   (per curiam) (citing PPG Indus., Inc. v. Transamerica Ins. Co., 20 Cal. 4th 310, 312
20   (1999)).                                                             Anguiano, 209 F.3d at
21
22                                                                Egan v. Mutual of Omaha Ins.
23   Co., 24 Cal.3d 809, 818 (1979). A breach of covenant of good faith and fair dealing
24   cannot survive absent any coverage under an insurance policy. Waller v. Truck Ins.
25   Exchange, Inc., 11 Cal. 4th 1, 36 (1995); Cybernet Ventures, Inc. v. Hartford Ins. Co. of
26   the Midwest,                  850, 853 (9th Cir. 2006) (quoting Brizuela v. Calfarm Ins.
27   Co., 116 Cal. App. 4th 578, 594 (2004)     A claim for breach of the covenant of good
28

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 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2826 Page 20 of 26



 1   faith and fair dealing cannot be maintained where a party is barred from bringing a claim
 2   for breach of contract.
 3         Here, the breach of the covenant of good faith and fair dealing stems from
 4                                                       due to a conflict of interest. Because
 5
 6   inability to plausibly allege a breach of the contract, the claim for breach of the covenant
 7   of good faith and fair dealing also fails. See Park Townsend LLC v. Clarendon America
 8   Ins. Co., 916 F. Supp. 2d 1045, 1057 (N.D. Cal. 2013) (dismissing breach of the implied
 9
10   right to independent counsel due to a conflict of interest which the complaint failed to set
11   forth). Accordingly, the Court GRANT                                 miss the
12   counterclaim for breach of the implied covenant of good faith and fair dealing.
13         4.                                             -Equitable Subrogation-Waiver-
14   Estoppel
15         Travelers moves to dismiss the third cause of action
16   initially arguing that because it relies on the same facts as the breach of contract claim,
17   this claim also fails. (Dkt. No. 33-1 at 20-22.) Additionally, Travelers argues that the
18   third cause of action is a hodgepodge of ambiguous claims that fails to state a claim and
19   contends that Quade has failed to allege facts to support the elements of equitable
20   subrogation and equitable indemnity. (Id.) In response, Quade merely recites arguments
21   concerning the breach of contract claim without explaining whether the counterclaim
22   alleges claims for indemnity, equitable subrogation, waiver and estoppel. (Dkt. No. 46 at
23   29-30.)
24                                                                        -Equitable
25   Subrogation-                                                                    ¶¶ 77-81.) The
26
27   counsel based on its reservation of rights and, as such, T
28   rate cap in section 2860. (Id.

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                                                                                     20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2827 Page 21 of 26



 1
 2   their rights under the legal services agreement with Quade. (Id.)
 3
 4   doctrines each pertain to the allocation of costs when there is more than one potentially
 5   responsible insurance company.
 6   Transcontinental Ins. Co. v. Ins. Co. of the State of Penn., 148 Cal. App. 4th 1296, 1303
 7   (2007) (citation omitted).                                                       coverage or
 8                                                        n to pursue a full recovery from another
 9   insurer who was primarily responsible for the loss.
10   Casualty Co., 65 Cal. App. 4th 1279, 1295 (1998).
11   hand, applies to apportion costs among insurers that share the same level of liability on
12   the same risk as to the same insured. Id.
13   the form of an insurer's right to be put in the position of the insured in order to pursue
14   recovery from third parties legally responsible to the insured for a loss which the insurer
15   has both insured and paid. Id. at 1305. By their description, a claim for equitable
16   subrogation and equitable contribution are brought by the insurers. Here, Quade is not an
17   insurer and has also not paid out any monies. Therefore, the Court concludes that the
18   third cause of action fails to state a claim.
19
20   C.             Motions to Dismiss Third Party Complaints filed by the Newlins,
21   Quade, and AIG
22         CCL moves to dismiss the third party complaints filed by the Newlins, Quade and
23   AIG claiming that the complaints violate the rule against claim splitting because the same
24   exact claim is pending in state court. (Dkt. Nos. 50-52.) AIG filed an opposition. (Dkt.
25                                                                                (Dkt. Nos. 61,
26   62.) CCL filed a joint reply to the oppositions. (Dkt. No. 70.)
27                         third party complaint against CCL alleges one cause of action for
28   breach of contract of the Santa Fe Irrigation District Contract and the Property Owners

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                                                                                   20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2828 Page 22 of 26



 1
 2   refusing to indemnify the NEWLINS                                          Counterclaim/TPC ¶ 58.)
 3
 4   recover unpaid excess fees from CCL,                                                             alleges
 5   breach of contract. (Dkt. No.                                            ¶¶ 65-72.) Because AIG
 6   paid for the defense of the Newlins in the Hamadeh Litigation,
 7   complaint against CCL asserts equitable subrogation-express contractual indemnity;
 8   equitable subrogation-contractual promise to procure primary coverage; and equitable
 9   contribution-proportionate liability. (Dkt. No. 14                                               -64;
10   65-69; 79-81.)
11           In state court, the pending cross-complaint filed by the Newlins on December 7,
12   2017 against CCL alleges breach of contract and negligence. (Dkt. No. 51-2
13   RJN4,                                    Cross-Complaint ¶¶ 58-76; 83-92). The breach of
14
15   and the Property Owners Contract by failing to timely accept the tender letter for defense
16   and indemnity. (Id. ¶¶ 70-73.) The cross-complaint also seeks damages for express
17   indemnity, equitable indemnity, total indemnity, comparative equitable indemnity,
18   contribution, apportionment, and declaratory relief. (Id. ¶¶ 127-156.) No party disputes
19   that the claims in the state and federal court cases are nearly identical.
20   CCL argues that the third party complaint filed by the Newlins should be dismissed under
21   the doctrine of claim splitting because there is already a pending cross-complaint in state
22   court with the same claim being alleged against CCL in this case. (Dkt. No. 50-1.) As to
23
24
     4
25
     Nos. 50-2, 51-2; 52-2.) Under Federal Rule of Evidence 201, the Court may take judicial notice of
26   filings in other courts. Accordingly, the Court GRANTS            requests for judicial notice. See Reyna
     Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n. 6 (9th Cir. 2006); United States ex rel.
27   Robinson Rancheria Citizens Council v. Borneo, Inc.
     notice of proceedings in other courts, both within and without the federal judicial system, if those
28   proceedin

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 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2829 Page 23 of 26



 1   Quade and AIG, CCL argues that their third party complaints allege the same primary
 2   rights for recovery as the pending state court action based on the alleged breach of the
 3   same contracts related to the same property arising from the Hamadeh Litigation as the
 4             third party complaint. (Dkt. Nos. 51-1; 52-1.) CCL contends that any
 5   judgment in this case would necessarily impair a judgment in the pending state court
 6   action as it would adjudicate the same rights and obligations under the same contracts.
 7   (Dkt. No. 51-1 at 5; Dkt. No. 52-1 at 5.) Moreover, because Quade, as the assignee, and
 8   AIG, as the subrogee, both stand in the shoes of the assignor and subrogor, they stand in
 9   privity with CCL. (Dkt. No. 51-1 at 6-7; Dkt. No. 52-1 at 6-7.) In response, the Newlins,
10   Quade and AIG do not dispute that claim splitting bars the third party complaints as there
11   is a pending state law cross-complaint with the same claim; instead they argue that the
12                                                                                          ising the
13
14   third party complaints against CCL Contracting in the event the Newlins dismiss their
15   pending state cross-complaint against CCL Contracting without prejudice.
16   at 16; see also Dkt. Nos. 61, 62.)
17         CCL moves to dismiss relying on the claim splitting analysis provided in Adams v.
18   California Dep't of Health Servs., 487 F.3d 684 (9th Cir. 2007) overruled on other
19   grounds by Taylor v. Sturgell, 553 U.S. 880, 904 (2008). Under the doctrine,
20   generally have no right to maintain two separate actions involving the same subject
21   matter at the same time in the same court and against the same                  Id. at 688
22   (quotation and citation omitted). Borrowing from the test for claim prelusion, the court
23                                                                        [and] examine whether
24   the causes of action and relief sought, as well as the parties or privies to the action, are
25               Id. After weighing the equities of the case, the district court may exercise its
26   discretion to dismiss a duplicative later-filed action, to stay that action pending resolution
27   of the previously filed action, to enjoin the parties from proceeding with it, or to
28   consolidate both actions. Id.

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                                                                                    20cv765-GPC(DEB)
 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2830 Page 24 of 26



 1          However, Adams                                                            Claim splitting
 2   applies only to duplicative cases involving concurrent jurisdiction within federal court,5
 3   and does not apply in this case, involving concurrent jurisdiction between state and
 4   federal court. See Colorado River Water Conservation Dist. v. United States, 424 U.S.
 5                         as between state and federal courts, the rule is that the pendency of an
 6   action in the state court is no bar to proceedings concerning the same matter in the
 7   Federal court having jurisdiction . . . As between federal district courts, . . . though no
 8   prec                                                                                             (internal
 9   citations omitted); Noel v. Hall, 341 F.3d 1148, 1159 (9th Cir. 2003)
10   even identical federal and state court litigation may proceed simultaneously, limited only
11                                                     ; Chromologic LLC v. Yang, Case No. SACV
12   13-01575 JVS(CWx), 2013 WL 12125537, at *3 (C.D. Cal. May 9, 2013) (claim-splitting
13   did not apply to case involving similar claims in federal and state court as claim-splitting
14   is aimed at duplicative litigation within federal courts).
15          In Kanciper v. Suffolk County Soc. for the Prevention of Cruelty to Animals, Inc.,
16   722 F.3d 88, 92-93 (2d Cir 2013), the district court dismissed the complaint under claim
17   splitting based on the fact that the plaintiff had a pending state court case involving the
18   same facts. Id. at 89. The Second Circuit recognized that under the Ninth Circuit case of
19   Adams                                               maintain two separate actions involving the
20   same subject matter at the same time in the same court and against the same defendant
21   id. at 92 (citation omitted); however,
22   the pendency of an action in the state court is no bar to proceedings concerning the same
23   matter in the Federal court having jurisdiction           Id. (citing Colorado River Water, 424
24   U.S. at 817). The court noted that the appropriate analysis to determine whether a stay or
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     cases cited by the opposition arguing that those cases all involved two federal cases, not a state and
28   federal case.

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 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2831 Page 25 of 26



 1   dismissal was warranted on an allegedly duplicative federal claim with a state court
 2   parallel proceeding is under Colorado River. Id. at 93.
 3         Similarly, in Wyles v. Sussman, 661 Fed. App x 548, 552 (10th Cir. 2016), during
 4   the pendency of a state court complaint, the plaintiff filed a complaint in federal court
 5   asserting nearly identical claims. Id. at 549. The district court dismissed the complaint
 6   under the claim splitting doctrine. Id. The Tenth Circuit held that the district court erred
 7   in dismissing based on claim-splitting because it applies only when both complaints are
 8   in federal court. Id. at 552.
 9         Therefore, because claim splitting under Adams does not apply to this case
10                                                                                           s to
11   dismiss the third party complaints filed by the Newlins, Quade and AIG as legally
12   unsupported.
13   D.    Leave to Amend
14
15   counterclaims, in the even the Court grants dismissal on their claims, they seek leave to
16   file an amended counterclaim. (Dkt. No. 46 at 13 n.2; 19 n.4; 31 n.5.) Because the
17   Newlins and Quade may cure the deficiencies noted in the order, and an amendment
18   would not be futile                                                      est for leave to file
19   an amended counterclaim. See DeSoto, 957 F.2d at 658; Schreiber, 806 F.2d at 1401.
20                                           Conclusion
21         Based on the above the Court GRANTS                   motions to dismiss the
22   counterclaims filed by the Newlins and Quade. In addition, the Cou
23   motions to dismiss the third party complaints filed by the Newlins, Quade and AIG. The
24   ///
25   ///
26   ///
27   ///
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 Case 3:20-cv-00765-GPC-DEB Document 73 Filed 11/02/20 PageID.2832 Page 26 of 26



 1   Newlins and Quade may file amended counterclaims on or before November 20, 2020.
 2   The hearing set on November 6, 2020 shall be vacated.
 3         IT IS SO ORDERED.
 4   Dated: November 2, 2020
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